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 Attorneys for Plaintiff Amanda Ferguson

                 IN THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                         )   Case Number SACV12-2110 DOC (ANx)
  AMANDA FERGUSON,                       )
                                         )   STIPULATION FOR DISMISSAL
                 Plaintiff,              )   WITH PREJUDICE BETWEEN
        v.                               )   PLAINTIFF AMANDA FERGUSON
                                         )   AND DEFENDANT EXPERIAN
  EXPERIAN INFORMATION                   )   INFORMATION SOLUTIONS, INC
  SOLUTIONS, INC.,
                                         )
  Defendant.                             )   COMPLAINT FILED: DECEMBER 5, 2012
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )

       IT IS HEREBY STIPULATED by and between Plaintiff Amanda Ferguson
 and Defendant Experian Information Solutions, Inc. (“Experian”) that Plaintiff’s
                                                      STIPULATION FOR DISMISSAL
                                                    Case No. SACV 12-2110 DOC (ANx)
Case 8:12-cv-02110-DOC-AN Document 28 Filed 12/06/13 Page 2 of 3 Page ID #:116



 claims against Experian in the above action be and hereby are dismissed with
 prejudice pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure. Each
 side shall bear her or its own attorneys’ fees and costs incurred herein.




  Dated: December 6 , 2013                   FRANCIS & MAILMAN



                                             By /s/ Geoffrey Baskerville
                                               Geoffrey Baskerville
                                             Attorney for Plaintiff
                                             Amanda Ferguson
  Dated: December 6, 2013                    JONES DAY


                                             By /s/ Rachel T. Gezerseh
                                               Rachel T. Gezerseh
                                             Attorney for Defendant
                                             EXPERIAN INFORMATION
                                             SOLUTIONS, INC.




                                                       STIPULATION FOR DISMISSAL
                                                     Case No. SACV 12-2110 DOC (ANx)
Case 8:12-cv-02110-DOC-AN Document 28 Filed 12/06/13 Page 3 of 3 Page ID #:117




                          CERTIFICATE OF SERVICE

       I, Geoffrey H. Baskerville, hereby certify that, on this date, I caused a true and

 correct copy of the foregoing Stipulation for Dismissal with Prejudice between

 Plaintiff Amanda Ferguson and Defendant Experian Information Solutions, Inc. to

 be served via e-mail, upon the following individual:

                              Rachel Tessa Gezerseh
                             rgezerseh@jonesday.com
                                   JONES DAY
                         555 South Flower Street, 50th Floor
                           Los Angeles, CA 90071-2300




                                             Respectfully submitted,

                                             /s/ Geoffrey H. Baskerville
                                             Geoffrey H. Baskerville
                                             FRANCIS & MAILMAN, P.C.
                                             Land Title Building, 19th Floor
                                             100 South Broad Street
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                                             (215) 735-8600




  Dated: December 6, 2013




                                                       STIPULATION FOR DISMISSAL
                                                     Case No. SACV 12-2110 DOC (ANx)
